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 9                            UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11   STM ATLANTIC N.V., et al.,           Case No. 2:18-cv-01269-JLS-JCG
12                     Plaintiffs,        PLAINTIFFS’ REPLY BRIEF IN
                                          SUPPORT OF MOTION FOR
13               vs.                      JUDICIAL DETERMINATION THAT
                                          THE MILBANK MEMO, CHEN
14   DONG YIN DEVELOPMENT                 MEMO AND RELATED
     (HOLDINGS) LIMITED, et al.,          COMMUNICATIONS ARE NOT
15                                        SUBJECT TO THE ATTORNEY-
                       Defendants.        CLIENT PRIVILEGE OR WORK
16                                        PRODUCT DOCTRINE
17                                        [FILED UNDER SEAL PER COURT
                                          ORDER OF APRIL 2, 2018]
18                                        [Filed concurrently with Supplemental
                                          Declaration of Umar Javed; Supplemental
19                                        Declaration of Emil Youssefzadeh;
                                          Supplemental Declaration of Jerome
20                                        Friedberg; Supplemental Compendium of
                                          Exhibits; Objections to Evidence;
21                                        Responses to Objections to Evidence; and
                                          Proof of Service]
22
                                          HEARING
23                                        Judge:       Hon. Josephine L. Staton
                                          Date:        May 11, 2018
24                                        Time:        2:30 p.m.
                                          Place:       Courtroom 10A
25
                                          Complaint Filed:        Feb. 15, 2018
26                                        FAC Filed:              Feb. 25, 2018

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.          INTRODUCTION.
 3               GIP has failed to meet its burden of proving that the Milbank Memo, the Chen
 4   Memo and related communications (a) were intended to be kept confidential, (b) were
 5   maintained as confidential and (c) were not disclosed to third parties in a manner
 6   which waives any privilege applicable to them.1 Instead, GIP’s Opposition is replete
 7   with telling admissions, glaring omissions, gross mischaracterizations and readily
 8   provable falsehoods. For example:
 9                    GIP admits that it shared privileged information with Bronzelink, a
10                     separate entity whose interests are adverse to GIP’s;
11                    GIP has mischaracterized Bronzelink as GIP’s parent company, when, in
12                     fact, it is only an investor and majority shareholder, and the common
13                     shareholders have substantial rights and interests in GIP that are adverse
14                     to those of Bronzelink;
15                    GIP seeks to mischaracterize this case as involving a shareholder’s
16                     dispute, when, in fact, it is a dispute between Mr. Youssefzadeh and
17                     Mr. Javed and Dong Yin arising from Dong Yin’s central role in
18                     violating U.S. export control laws and the PRC Proscription;
19                    GIP has failed to provide a declaration from Fan, a Dong Yin
20                     representative who received the Milbank and Chen Memos;
21                    The declarations from Dong Yin executives Terry Long and Xinyi Dong
22                     are only two paragraphs long, do not dispute that Dong Yin was informed
23                     of the factual findings, legal conclusions and advice Panahy and Chen
24                     had provided to GIP, and do not make any mention of the meetings
25                     between Dong Yin representatives and Mr. Youssefzadeh and Mr. Javed
26
27
             This Reply uses the same acronyms, shortened names and collective labels as
                 1

28   in the Motion.
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 1                     at which those matters were discussed;
 2                    Panahy’s declaration misstates the nature and extent of his
 3                     communications with Dong Yin, as made clear by his detailed email to
 4                     Terry Long of Dong Yin dated June 27, 2017;
 5                    GIP has failed to provide declarations from the consultants who met with
 6                     Mr. Youssefzadeh and Mr. Javed in November 2017, to rebut the
 7                     testimony that the consultants had read the Milbank and Chen Memos, or
 8                     submit any documentation supporting its claim that the consultants were
 9                     retained by Bronzelink and not Dong Yin;
10                    GIP’s claim that the consultants worked for Bronzelink and met with
11                     Mr. Youssefzadeh and Mr. Javed to evaluate GIP’s sales potential and
12                     not discuss a resolution of the compliance issues is false;
13                    GIP does not dispute, or even address, the disclosure of the Milbank
14                     Memo to Sidley, Bronzelink’s outside transactional counsel;
15                    GIP likewise does not dispute, or even address, the disclosures to SMRH,
16                     at a time when SMRH was representing Bronzelink and not GIP;
17                    GIP’s claim that Mr. Youssefzadeh was no longer employed by GIP
18                     when he sent the June 26, 2017 emails to Boeing and SpaceX is an easily
19                     provable falsehood;
20                    GIP has not disputed that privileged information was disclosed to Boeing
21                     and SpaceX, or that GIP ratified those disclosures; and
22                    GIP’s claim that Mr. Youssefzadeh lacked the authority to make
23                     disclosures to Boeing and SpaceX is false factually and incorrect legally.
24               Both the record and the law are clear: the Milbank and Chen Memos and related
25   communications are not privileged.
26   II.         GIP HAS MATERIALLY MISCHARACTERIZED THE NATURE OF
27               THE PARTIES’ DISPUTE.
28               As a preliminary matter, GIP has mischaracterized this litigation as merely a
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  1   dispute between two factions of GIP shareholders – Bronzelink and the common
  2   shareholders. Although Bronzelink and the common shareholders are indeed adverse
  3   to each other, this litigation arises from defendant Dong Yin’s theft of Plaintiffs’
  4   project to develop, launch and operate a state-of-the-art communications satellite, in
  5   violation of U.S. export control laws, including the PRC Proscription. The Milbank
  6   Memo and the Chen Memo were prepared in response to this issue, not a shareholder
  7   dispute.
  8   III.        AS A MATTER OF FACT AND LAW, BRONZELINK AND
  9               GIP-CAYMAN ARE NOT PARENT AND SUBSIDIARY FOR
 10               PRIVILEGE PURPOSES.
 11               GIP admits that the Milbank and Chen Memos were disclosed to Bronzelink.
 12   (Opp., pp. 6, 20.) GIP nonetheless contends that its disclosures to Bronzelink did not
 13   constitute a waiver because “a company may disclose privileged information to a
 14   parent company without waiving the privilege.” (Opp., p. 13.) This argument fails
 15   both legally and factually.
 16               A.    Applicable Law Regarding Attorney-Client Communications
 17                     Between Related Entities.
 18               In their Moving Papers, Plaintiffs cite several cases establishing that
 19   communications shared between a subsidiary and its majority owners are not
 20   privileged, unless the corporations are closely affiliated or share an identity of legal
 21   interests. (See Motion, at 26 (citing cases).) The cited cases expressly held that a
 22   company waived the privilege by sharing privileged communications with its majority
 23   shareholder. In re Fresh and Process Potatoes Antitrust Litigation, 2014 WL
 24   2435581, at *11 (D. Idaho 2014) (privilege waived where communications were
 25   shared between subsidiary and 51% owners); DeFrees v. Kirkland, 2012 WL 1356495
 26   at *13 (C.D. Cal. Apr. 11, 2012) (privilege waived when directors forwarded legal
 27   memorandum to controlling shareholder). GIP does not even attempt to distinguish
 28   these or the other cases cited by Plaintiffs.
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  1               Instead, GIP relies on a string-cite of ten cases, eight of which involved wholly
  2   owned subsidiaries or communications within the same corporation. (Opp., pp. 13,
  3   20.)2 For example, in In re Teleglobe, 493 F.3d 345 (3d Cir. 2007), the court held:
  4                     [P]arents and their wholly owned subsidiaries have the same
  5                     interests because all of the duties owed to the subsidiaries flow
                        back up to the parent. [Citations] While we normally assume that
  6                     a corporation’s primary interest is in maximizing its economic
                        value, the only interest of a wholly owned subsidiary is in serving
  7                     its parent.
  8   Id. at 366–67; see also U.S. v. Under Seal (In re Under Seal), 902 F.2d 244, 245 (4th
  9   Cir. 1990) (communications between movant and wholly owned subsidiary); Glidden
 10   Co. v. Jandernoa, 173 F.R.D. 459, 473 (W.D. Mich. 1997) (“As . . . a wholly owned
 11   subsidiary [its] officers had no legal ability to resist disclosure to [parent], including
 12   its attorney-client communications.” (emphasis added)); U.S. v. ChevronTexaco
 13   Corp., 241 F. Supp. 2d 1065, 1077 (N.D. Cal. 2003) (communications between
 14   employees of same corporation); Miller v. Int’l Bus. Machines, 2006 WL 1141090, at
 15   *3 (N.D. Cal. May 1, 2006) (where plaintiff moved to compel IBM to produce non-
 16   privileged documents, IBM met the standard that “a corporation must produce
 17   documents possessed by a subsidiary that the parent corporation owns or wholly
 18   controls”); Guy v. United Healthcare Corp., 154 F.R.D. 172, 177-78 (S.D. Ohio 1993)
 19   (“disclosure . . .by a wholly owned subsidiary will not result in a waiver”); Leybold-
 20   Heraeus Techs., Inc. v. Midwest Instrument Co., 118 F.R.D. 609, 613 (E.D. Wis.
 21   1987) (finding that “LHT and LHG are related as parent and subsidiary companies”
 22
 23           In two of the cases cited by GIP, the court referred to “affiliated” entities
                  2


      without specifying the corporate relationship; however, the courts found that the
 24
      corporations were closely related and shared an identity of legal interests. See U.S. v.
 25   United Shoe Machinery Corp., 89 F. Supp. 357 (1950) (“These corporations all used
      the same outside and inside counsel. The legal affairs of these corporations were
 26
      closely related.”); U.S. v. AT&T, 86 F.R.D. 603, 615-16 (1979) (concluding that the
 27   “related corporations had a substantial identity of legal interest” where “both parties
      contend that the wholly-owned and majority owned affiliates of AT&T have close and
 28
      long-standing relationships with each other”).
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  1   and that joint defense exception applied); Duplan Corp. v. Deering Milliken, Inc., 397
  2   F. Supp. 1146, 1184 (D.S.C. 1974) (finding the “corporate entities . . . are under
  3   common ownership or control” and “were interested in the lawsuits”) (emphasis
  4   added).
  5               None of these authorities is applicable here, because GIP-Cayman is not a
  6   wholly owned subsidiary. Rather, the cases cited by Plaintiffs are controlling, and
  7   establish that GIP waived the privilege by disclosing the Milbank Memo and the Chen
  8   Memo to Bronzelink.
  9               B.    GIP-Cayman is Not a Subsidiary of Bronzelink.
 10               Bronzelink is not GIP-Cayman’s parent company, but merely an investor in,
 11   and the majority shareholder of, GIP-Cayman. Unlike the subsidiary in In re
 12   Teleglobe, GIP-Cayman is not solely devoted to serving Bronzelink. Rather, GIP-
 13   Cayman’s common shareholders have separate interests and rights in GIP-Cayman,
 14   including the right to elect three directors to the nine member Board of Directors. In
 15   addition, the SHA expressly provides that the common shareholders have independent
 16   rights, including the right to select the initial CEO of GIP-Cayman and to veto
 17   subsequent CEO appointments. (Supplemental Declaration of Emil Youssefzadeh
 18   (“Supp. E.Y. Decl.”), ¶ 3; see also, Compendium of Exhibits and Appendices filed in
 19   support of Plaintiffs’ Motion (“Compendium”), Exhibit 7, § 3.12(a), (b).) Indeed,
 20   when the Milbank and Chen Memos were distributed, the top management of
 21   GIP-Cayman and GIP-USA – Mr. Youssefzadeh, Mr. Javed and Mr. Pourmand - were
 22   affiliated with the common shareholders. (U.J. Decl. ¶¶ 13, 15, 52-59.) Furthermore,
 23   the SHA provides that certain important company matters such as the issuance of new
 24   shares and the liquidation and winding up of the company are “Supermajority
 25   Matters” requiring the approval of at least two of the common directors.
 26   (Compendium, Exh. 7, SHA, § 3.9; Supp. E.Y. Decl., ¶ 3.) GIP’s attempt to
 27   characterize Bronzelink as its parent company cannot be squared with these facts.
 28   ///
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  1               C.    GIP-Cayman and Bronzelink Have Adverse Business and
  2                     Legal Interests.
  3               Nor does Bronzelink share a unity of legal and business interests with
  4   GIP-Cayman. GIP-Cayman owed a duty to all of its shareholders, including the
  5   common shareholders, and the common shareholders’ interests clearly were adverse to
  6   Bronzelink. Specifically, the common shareholders sought to limit Dong Yin’s
  7   control over GIP-Cayman by curbing Bronzelink’s control and dominance of
  8   GIP-Cayman and its Board of Directors. This issue is spelled out in detail in the
  9   June 27, 2017 email from GIP’s attorney, Dara Panahy, to Terry Long of Dong Yin.
 10   (See Supplemental Compendium (“Supp. Compendium”), Exhibit 86.)
 11               In addition, Bronzelink did not share a unity of interests with, and in fact was
 12   adverse to, GIP-Cayman’s upper management. Indeed, on June 4, 2017,
 13   Mr. Youssefzadeh, Mr. Javed and Pourmand, the top executives at GIP, sent
 14   Bronzelink a notice of their intent to commence a legal action against Bronzelink for
 15   violations of the SHA, including violations related to the export compliance issue.
 16   (See Compendium, Exhibit 33.)
 17               Moreover, at the time the Milbank and Chen Memos were disclosed,
 18   GIP Cayman and Bronzelink had separate counsel, a clear acknowledgement and
 19   recognition of the fact that they did not share a unity of legal interests. (U.J. Decl.,
 20   ¶¶ 135, 138.)
 21               To this day, GIP-Cayman and Bronzelink do not share a unity of interests.
 22   Despite Bronzelink’s professed interest in compliance, Fan, Wong and Liu are still
 23   members of the GIP-Cayman Board of Directors. In fact, Wong is now the Chairman
 24   of the GIP Board. (Supp. U.J. Decl., ¶ 28.) In addition, the Bronzelink-appointed
 25   directors are still refusing to convene board meetings noticed by the directors
 26   appointed by the common shareholders or give those directors even the most basic
 27   information about GIP-Cayman’s financial condition. (Supp. E.Y. Decl., ¶¶ 6-10.)
 28               Finally, GIP’s business interests are not aligned with Bronzelink. Bronzelink
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  1   is obligated to provide, but has not provided, a $25 million line of credit to GIP-
  2   Cayman, so the two companies are adverse to each other with respect to this multi-
  3   million dollar obligation. (Supp. E.Y. Decl., ¶ 4.)
  4   IV.         AS A MATTER OF FACT AND LAW, THERE WAS NO COMMON
  5               INTEREST OR JOINT DEFENSE AGREEMENT BETWEEN
  6               GIP-CAYMAN AND BRONZELINK, BOEING, OR SPACEX
  7               REGARDING COMPLIANCE WITH U.S. EXPORT CONTROL LAWS.
  8               A.    Applicable Law Regarding Common Interest and Joint
  9                     Defense Agreements.
 10               “[T]he ‘common interest’ or ‘joint defense’ rule is an exception to ordinary
 11   waiver rules,” designed to allow “attorney for different clients . . . to communicate
 12   with each other.” In re Pacific Pictures Corp., 679 F.3d 1121, 1129 (9th Cir. 2012).
 13   For the exception to apply, several criteria must be met.
 14               First, “attorneys for different clients” must be “pursuing a common legal
 15   strategy.” Id. at 1129; see also U.S. ex rel. Burroughs v. DeNardi Corp., 167 F.R.D.
 16   680, 685 (S.D. Cal. 1996) (there must be “an on-going and joint effort to set up a
 17   common defense strategy”). A common “commercial” interest between the parties is
 18   not enough. Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 579 (N.D. Cal.
 19   2007). Nor is a common interest in “legal compliance.” See Harris v. Lang Pharma
 20   Nutrition, Inc., 2015 WL 12832093, at *2 (C.D. Cal. 2015) (“[T]he only common
 21   legal interest between Lang and CVS would have been to comply with the laws
 22   applicable to the products they sold. If such a general legal interest were sufficient,
 23   the common interest exception would swallow the waiver rule.”); FSP Stallion 1, LLC
 24   v. Luce, 2010 WL 3895914, at *21 (D. Nev. Sep. 30, 2010) (interest in structuring and
 25   implementing transaction “in compliance with applicable securities law and
 26   regulations” was “insufficient to show [parties] shared a common legal interest” for
 27   purposes of common interest doctrine); In re Fresh & Process Potatoes Antitrust
 28   Litig., 2014 WL 2435581, at *7 (D. Idaho 2014) (“The fact they may have had a
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  1   shared desire to maintain compliance [with the Capper-Volstead Act] and avoid
  2   litigation . . . does not transform the cooperatives’ common interest . . . into a legal, as
  3   opposed to commercial, matter.”) (internal quotation marks omitted).
  4               Second, the communications must be made pursuant to “some form of
  5   agreement” entered into “before the disclosure.” Pacific Pictures, 679 F.3d at 1129;
  6   see also Nelson v. Millenium Labs., Inc., 2013 WL 11687684, at *3 (D. Ariz. 2013)
  7   (“Before applying the common interest doctrine, a court must find that a common
  8   interest agreement exists.”) (emphasis added); In re Grand Jury Subpoena: Under
  9   Seal, 415 F.3d 333, 341 (4th Cir. 2005) (where “agreement to share information
 10   pursuant to a common interest did not exist prior to December 2001,” party had “no
 11   joint defense privilege before that time”).
 12               Finally, the communications must be made to counsel. See Waymo LLC v.
 13   Uber Technologies, Inc., 2017 WL 2694191, at *4 (N.D. Cal. Jun. 21, 2017) (“[The
 14   common interest doctrine] extends the [attorney-client] privilege to protect . . . the
 15   confidentiality of communications passing . . . from one party to the attorney for
 16   another party . . . .”) (emphasis added); Carl Zeiss Vision Int’l Gmbh v. Signet
 17   Armorlite Inc, 2009 WL 4642388, at *7 (S.D. Cal. 2009) (where “the employees of the
 18   respective entities shared in the communications, not the attorneys,” the
 19   communications were “stripped of the attorney-client privilege”) (emphasis in
 20   original); In re Teleglobe Communications Corp., 493 F.3d 345, 364 (3d Cir. 2007)
 21   (“[T]o be eligible for continued protection, the communication must be shared with
 22   the attorney of the member of the community of interest”) (emphasis in original).
 23               B.    There Was No Common Interest or Joint Defense Agreement
 24                     Between GIP and Bronzelink.
 25               To the extent GIP asserts that the common interest exception applies to its
 26   disclosures to Bronzelink, its argument fails on multiple grounds. First, as set forth
 27   above, GIP and Bronzelink did not share a common legal interest. Second, GIP has
 28   presented no evidence – because there is none – that the attorneys for GIP and
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  1   Bronzelink entered into a common interest agreement before the disclosures to
  2   Bronzelink were made. In fact, the declarations of Mr. Youssefzadeh and Mr. Javed
  3   establish that GIP never entered into any such agreement. (U.J. Decl., ¶ 144,
  4   E.Y. Decl. ¶ 106.) Third, the parties were not engaged in litigation at the time of the
  5   disclosures, and a shared interest in conducting commercial transactions in
  6   compliance with the law is insufficient. Finally, there is no indication that the
  7   disclosures to Bronzelink were made by or to counsel.
  8               C.    There Was No Common Interest or Joint Defense Agreement
  9                     Between GIP and Boeing or SpaceX.
 10               GIP has not identified any common legal interest it had with SpaceX. With
 11   respect to Boeing, GIP asserts that “those communications were made confidentially
 12   and pursuant to a common legal compliance interest.” (Opp., pp. 22-23.) As noted
 13   above, however, a common interest in “legal compliance” is insufficient. See FSP
 14   Stallion 1, 2010 WL 3895914, at *21; Harris v, Inc., 2015 WL 12832093, at *2; Fresh
 15   & Process Potatoes Antitrust Litig., 2014 WL 2435581, at *7.
 16               GIP also argues that “[c]ommunications such as those sent by Youssefzadeh
 17   would be treated as confidential pursuant to the non-disclosure agreement between
 18   GIP and Boeing.” (Opp., p. 8.) None of the cases cited by GIP, including Nidec, 249
 19   F.R.D. 575, on which it principally relies, mention non-disclosure agreements, let
 20   alone hold that non-disclosure agreements are tantamount to common interest
 21   agreements. Non-disclosure agreements are simply agreements to keep specified
 22   information confidential. See, e.g., “Confidentiality or Nondisclosure Agreement,”
 23   Basic Legal Transactions § 25:2 (Nov. 2010). By contrast, common interest
 24   agreements specifically cover the exchange of communications in the course of
 25   “pursuing a common legal strategy.” Pacific Pictures, 679 F.3d at 1129. Here,
 26   neither of the two non-disclosure agreements identify any common legal interest
 27   between the parties, and the excerpts that GIP has submitted do not even define what
 28   constitutes “Confidential Information” (in the case of the SpaceX agreement) or
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  1   “Proprietary Information” (in the case of the Boeing agreement). (See Opp.
  2   Compendium, Ex. A.) Accordingly, GIP has thus not satisfied its burden of
  3   establishing the “agreement” element under the common interest rule.
  4               Finally, GIP has presented no evidence that its communications were with
  5   counsel for Boeing or SpaceX. To the contrary, in the case of Boeing, Plaintiffs have
  6   submitted evidence that Mr. Youssefzadeh and Pourmand communicated directly with
  7   William Masters, its Contract Manager. (Compendium, Exhs. 45, 54.)
  8   V.          AS A MATTER OF FACT AND LAW, MR. YOUSSEFZADEH AND
  9               MR. JAVED REMAINED EMPLOYED BY AND HAD AUTHORITY TO
 10               ACT ON BEHALF OF GIP-CAYMAN AND GIP-USA THROUGH
 11               AUGUST 16, 2017.
 12               While he was employed by GIP, Mr. Youssefzadeh was the acting CEO, Chief
 13   Technical Officer and Chairman of the Management Committee. He continued to
 14   serve as the acting CEO until Pourmand was given the CEO’s authority on
 15   July 17, 2017, and continued to serve as the Chief Technical Officer and Chairman of
 16   the Management Committee until his resignation became effective on
 17   August 16, 2017. (Supp. E.Y. Decl. ¶ 12.) Mr. Javed served as the President and
 18   Chief Operating Officer of GIP until August 16, 2017. (Supp. U.J. Decl. ¶ 2.)
 19   Therefore, prior to August 16, 2017, Mr. Youssefzadeh and Mr. Javed had the
 20   authority to act on behalf of the GIP-Cayman and GIP-USA.
 21               GIP contends that after Mr. Youssefzadeh tendered his resignation, he was no
 22   longer an employee of GIP-Cayman and therefore lacked the authority to act on behalf
 23   of the company or waive the privilege. (Opp., p. 21.) This claim is demonstrably
 24   false. The Supplemental Compendium of Exhibits filed concurrently herewith
 25   includes documentation proving that Mr. Youssefzadeh and Mr. Javed were both
 26   employed by GIP until August 16, 2018. That documentation includes letters from
 27   GIP to Mr. Youssefzadeh and Mr. Javed dated August 9, 2018, informing each of
 28   them that the GIP-Cayman and GIP-USA directors “accept your resignation from all
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  1   Global IP executive officer positions effective August 16, 2017,” and that, “[y]our
  2   separation date and final date of employment is August 16, 2017.” The letters were
  3   signed by none other than Pourmand, whose declaration GIP is relying on in support
  4   of its Opposition. (Supp. U.J. Decl., ¶ 4; Supp. Compendium, Exh. 81; Supp.
  5   E.Y. Decl., ¶ 14; Supp. Compendium, Exh. 97.)
  6               Mr. Youssefzadeh and Mr. Javed negotiated and executed the Boeing and
  7   SpaceX contracts and provided certifications under the contracts; Mr. Javed was also
  8   the designated point of contact for both Boeing and SpaceX. (E.Y. Decl., ¶¶ 46-47,
  9   67; U.J. Decl., ¶¶ 61-66; Supp. U.J. Decl., ¶ 21.) Each of them clearly had the
 10   authority to make disclosures to Boeing and SpaceX which were material to these
 11   contracts.
 12               Furthermore, Mr. Youssefzadeh had express authority from the Board to make
 13   any necessary disclosures to SpaceX, as provided in the Board’s March 3, 2017
 14   resolution authorizing GIP-Cayman to enter into and perform that contract. That
 15   resolution gave Mr. Youssefzadeh, as the Chief Technical Officer, “absolute
 16   discretion” to deliver any notices or other documents or perform any other acts and
 17   things as in his “sole opinion and absolute discretion” was “necessary or desirable” for
 18   the performance of the SpaceX contract. (Supp. E.Y. Decl., ¶ 19; Supp.
 19   Compendium, Exh. 98.)
 20               In addition, corporate executives are generally authorized to perform
 21   transactions which bind the company without first obtaining board approval. Bakst v.
 22   Cmty. Mem’l Health Sys., Inc., 2011 WL 13214315, at *4 (C.D. Cal. 2011) (“[I]t is
 23   well established that the general manager has implied authority to bind the corporation
 24   and do in the transaction of its ordinary affairs whatever the corporation itself could
 25   do within the scope of its powers.”); Monteleone v. S. California Vending Corp., 264
 26   Cal. App. 2d 798, 806 (1968) (“[A]n executive officer of a corporation . . . is more
 27   than an agent and acts and speaks directly for the corporation in conducting its
 28   activities and objects”); Kagel v. First Commonwealth Co., 409 F. Supp. 1396, 1400
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  1   (N.D. Cal. 1973), aff’d, 534 F.2d 194 (9th Cir. 1976) (same; holding “Kimball was
  2   clearly acting in his corporate capacity [as EVP] and, therefore, required no written
  3   authorization from First Commonwealth to enter into a contract with SFO for the
  4   purchase of Larkin”).
  5   VI.         ANY PRIVILEGE APPLICABLE TO THE MILBANK AND
  6               CHEN MEMOS HAS BEEN WAIVED BY DISCLOSURES TO
  7               NUMEROUS THIRD PARTIES.
  8               GIP’s disclosures of the Milbank and Chen Memos to third parties prove that
  9   the Memos were not intended to be confidential and that any claim of privilege has
 10   been waived.
 11               A.    The Disclosures to Shiwen Fan Waived the Privilege.
 12               It is beyond dispute that Shiwen Fan, who was a member of the GIP-Cayman
 13   Board of Directors, received both the Milbank and the Chen Memos. (U.J. Decl.,
 14   ¶¶ 71-72, 95; Compendium, Exhs. 26, 27, 39.)
 15               As set forth in detail in the FAC, Fan is in many respects the central figure in
 16   Dong Yin’s scheme to obtain control over the governance, management and
 17   operations of GIP-Cayman in order to gain access to embargoed data. In their Motion,
 18   Plaintiffs argue that the GIP waived any claim of privilege by providing the Milbank
 19   and Chen Memos to Fan ‒ an attorney and authorized representative of Dong Yin and
 20   a member of the Bronzelink Board ‒ without making any attempt to ensure that Fan
 21   would keep those memoranda confidential. GIP does not address this argument in its
 22   Opposition, instead relegating its entire discussion of Fan to a pair of misleadingly
 23   innocuous references in a footnote. (See Opp. p. 17, fn. 9.)
 24               GIP has also chosen not to provide a declaration from Fan. The court can and
 25   should draw an adverse inference from this glaring omission. See United States v.
 26   Bramble, 680 F.2d 590, 592 (9th Cir. 1982) (“[A]n inference of unfavorable testimony
 27   from an absent witness is a natural and reasonable one.”); United States v. Lewis, 40
 28   F.3d 1325, 1336 (1st Cir. 1994) ( a party’s failure to produce a particular witness may
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  1   justify the inference that the witness’ testimony would have been unfavorable to that
  2   party ); United States v. Noah, 475 F.2d 688, 691 (9th Cir. 1973) (“The failure of a
  3   party to produce a material witness who could elucidate matters under investigation
  4   gives rise to a presumption that the testimony of that witness would be unfavorable to
  5   that party if the witness is peculiarly within the party’s control.”) (citations omitted).
  6               The basis for such an inference “is the simple proposition that if a party has
  7   evidence which will illuminate questions in issue and fails to present it, it may be
  8   inferred that such evidence would be harmful to his case.” United States v. Johnson,
  9   467 F.2d 804, 808 (1st Cir.), cert. denied, 410 U.S. 909(1973); accord Graves v.
 10   United States, 150 U.S. 118, 121 (1893) (“[I]f a party has it peculiarly within his
 11   power to produce witnesses whose testimony would elucidate the transaction, the fact
 12   that he does not do it creates the presumption that the testimony, if produced, would
 13   be unfavorable.”).
 14               The Court should draw the logical inference that GIP has chosen to ignore Fan
 15   because they are unable to address their disclosures to him on the merits.
 16               B.    The Disclosures to Dong Yin Employees and Consultants
 17                     Waived the Privilege.
 18               As set forth in the Motion, there is considerable evidence that the Memos were
 19   read by and/or substantively discussed with Dong Yin employees and consultants.
 20   (Motion, pp. 16-18; 25-26.) Ignoring this evidence, and without providing any
 21   evidence to the contrary, GIP contends that it did not disclose the Milbank and Chen
 22   Memos or their contents to anyone at Dong Yin. (Opp. p. 16.) GIP’s assertions are
 23   demonstrably false.3
 24
                  3
 25           GIP provides a declaration from defendant Ludwig Chang in support of its
      position that Plaintiffs had sought to enlist the help of Dong Yin to resolve their
 26
      dispute. See Declaration of Ludwig Chang (Dkt. No. 34-2). The Chang Declaration
 27   was not executed by Mr. Chang. As such, it is improper and must be stricken,
      pursuant to 28 U.S.C. Section 1746. See Plaintiff’s Evidentiary Objections, p. 5, ¶ 14.
 28
      That said, however, the Chang Declaration completely supports Plaintiffs’ argument
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  1                     1.    Terry Long, Xinyi Dong and Yang Zeng.
  2               The Milbank and Chen Memos were disclosed to Dong Yin executives Terry
  3   Long (“Long”), Xinyi Dong (“Dong”) and Yang Zeng (“Zeng”). (Motion, p. 25.) In
  4   its Opposition, GIP completely ignores Zeng, failing to either mention him or provide
  5   a declaration from him.
  6               GIP asserts that neither Long nor Dong received the Memos. This assertion is
  7   supported by two-paragraph declarations from Dong Yin executives Long and Dong,
  8   which are notable only for how little they say. The declarations offer the identical
  9   assertion that neither declarant “recall[s] seeing or reviewing the contents of a legal
 10   memorandum prepared by Chris Chen for GIP and dated on or about June 2017 or a
 11   legal memorandum prepared by Milbank for GIP and dated on or about April 2017.”
 12   Declaration of Terry Long (Dkt. No. 34-4), ¶ 2; Declaration of Xinyi Dong (Dkt. No.
 13   34-7), ¶ 2. Neither declarant stated whether he was aware of the legal advice and
 14   analysis set forth in the Milbank and Chen Memos or otherwise obtained GIP’s
 15   privileged information. Neither declarant discusses Dong Yin’s communications with
 16   Panahy regarding U.S. export control laws, or the meetings he had with
 17   Mr. Youssefzadeh and Mr. Javed at which compliance with the export control laws
 18   was discussed. Accordingly, neither declarant rebuts the evidence that Dong Yin was
 19   aware of the legal analysis and advice set forth in the Milbank and Chen Memos.
 20               Furthermore, it is beyond dispute that Mr. Long was fully briefed on U.S.
 21   export compliance issues by Dara Panahy, the author of the Milbank Memo. In a
 22   June 27, 2017 email, Mr. Panahy informed Mr. Long that Mr. Youssefzadeh,
 23   Mr. Javed and Chris Chen had resigned, all “citing serious concerns about the
 24
 25
      that this was not merely a dispute between the common shareholders and the
 26   Bronzelink-appointed shareholders. It was also a dispute about Dong Yin’s
 27   overreaching and using Bronzelink as a vehicle to gain operational control over the
      GIP-Cayman Board. That is why Mr. Youssefzadeh and Mr. Javed reached out to
 28   Mr. Chang and asked him to intercede with Dong Yin. (Supp. U.J. Decl., ¶¶ 7-16.)
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  1   corporate governance of Global IP by its Board of Directors and the resulting
  2   compliance implications with respect to U.S. export control laws and regulations.”
  3   (Supp. U.J. Decl., ¶¶ 13-14; Supp. Compendium, Exh. 85.) Mr. Panahy’s email also
  4   includes a discussion of the compliance issues that caused Mr. Youssefzadeh,
  5   Mr. Javed and Chen to resign and suggestions about how to reconfigure the Board of
  6   Directors to comply with the PRC Proscription, explaining that:
  7                    Emil and Umar for a few months now have expressed concerns
  8                    about the corporate governance defects of Global IP and the
                       disregard for compliance with U.S. export control laws and
  9                    regulations that the Series A Directors have demonstrated, and
                       tried in good faith to work with other Directors of Global IP to
 10                    resolve these matters in the best interest of Global IP and its
                       shareholders, including Bronzelink. . . Emil and Umar have a very
 11                    serious concern that the Bronzelink-appointed Directors of Global
 12                    IP do not understand, or do not wish to understand, the critical
                       importance of immediately correcting the corporate governance
 13                    matters facing Global IP which, if not resolved immediately, could
                       quickly lead to violations under U.S. export controls laws and
 14                    regulations. . .
 15                    One potential solution that Emil and Umar have suggested is for
 16                    Bronzelink to have a truly independent, outside third party (such as
                       an independent executive/director search firm) identify a number
 17                    of appropriately qualified and truly independent Director
                       candidates with no past or existing personal or business
 18                    connections or ties to Bronzelink, or Bronzelink’s shareholder(s),
 19                    and have Bronzelink select and appoint from this group of
                       candidates a minimum of 4 truly independent Directors on the
 20                    Board of Global IP, to serve alongside with the 3 Founder
                       Directors, Mr. Fan and 1 director identified and appointed directly
 21                    by Bronzelink (or any other qualified 1 Director identified and
                       appointed directly by Bronzelink).
 22
 23   Id. Dong Yin’s declarations are brief precisely because GIP is unable to address such
 24   disclosures on the merits.
 25                    2.    Dr. Michael Altwein and Pin Fen Miao.
 26               On or about November 16, 2017, Mr. Youssefzadeh and Mr. Javed met with Dr.
 27   Michael Altwein (“Altwein”) and Pin Fen Miao (“Miao”), whom they were told were
 28   consultants retained by Dong Yin. (E.Y. Decl., ¶ 103; U.J. Decl., ¶ 141.)
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  1               In its Opposition, GIP contends that Altwein and Miao were Bronzelink
  2   consultants who had “come to Los Angeles to meet with individuals at GIP USA for
  3   the purpose of gauging the economic possibilities of the satellite and
  4   telecommunications market for sub-Sahara Africa.” (Opp. at p. 18.)
  5               This assertion is not credible. The consultants never discussed GIP’s economic
  6   prospects in their meeting with Mr. Youssefzadeh and Mr. Javed, never asked for any
  7   financial or sales forecasts or data, and had no reason to meet with Mr. Youssefzadeh
  8   and Mr. Javed about sales issues three months after their employment with GIP had
  9   ended. (Supp. E.Y. Decl. ¶ 23; Supp. U.J. Decl., ¶ 16.) GIP has also failed to produce
 10   contracts or other documents supporting its assertion that the consultants worked for
 11   Bronzelink rather than Dong Yin, even though any such evidence is uniquely within
 12   its control.
 13               GIP does not dispute that Altwein and Miao read the Milbank and Chen
 14   Memos, has not explained why they were given the Memos, and has not provided a
 15   declaration from either consultant. The unrebutted evidence that Altwein and Miao
 16   received the Memos establishes that GIP waived any possible claim of privilege.
 17                     3.    The Disclosures to the Bronzelink Directors Waived the
 18                           Privilege.
 19               The Milbank and Chen Memos were disclosed to GIP-Cayman directors,
 20   including Wong, Liu and Zheng, who were also members of the Bronzelink Board of
 21   Directors. By providing the Memos to these board members without any restrictions
 22   on their use, GIP disclosed the Memos to Bronzelink. As Liu admits in her
 23   declaration, “due to duplication of director appointments, Bronzelink from time to
 24   time receives privileged and/or confidential information relating to GIP.”
 25   (Declaration of Shiyue Liu (“Liu Decl.”), pp. 2-3.) (Dkt. No. 34-3.)
 26               The privilege is waived where, as here, attorney-client communications are
 27   disclosed to board members with conflicting interests. See DeFrees v. Kirkland, 2012
 28   WL 1356495, at *10 (C.D. Cal. Apr. 11, 2012) (holding that CEO’s voluntary
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  1   disclosure of privileged legal memoranda to the full board waived the attorney-client
  2   privilege on behalf of the corporation, where the majority directors were “persons who
  3   possessed interests adverse to” the company); S.E.C. v. Mircrotune, Inc., 258 F.R.D.
  4   310, 317 (N.D. Tex. 2009) (holding that attorney-client privilege was waived with
  5   respect to “all documents relating to internal investigation of company’s stock option
  6   practices” when, among other things, the corporation’s audit committee shared the
  7   results of its internal investigation with the company’s entire board); Re: Ryan v.
  8   Gifford, 2007 WL 4259557, at *3 (Del. Ch. Nov. 30, 2007) (applying Delaware law;
  9   attorney-client privilege was waived when special committee orally reported the result
 10   of an internal investigation to board members, some of whom were subjects of the
 11   investigation and “whose interests [were] not common with the client”); In re OM
 12   Group Securities Litig., 226 F.R.D. 579, 592 (N.D. Ohio 2005) (holding that privilege
 13   was waived with respect to all documents that related to, referred to, or were relied on
 14   in a power point presentation to the company’s board of directors about an internal
 15   investigation).
 16               Any privilege that may have applied to the Milbank and Chen Memos was
 17   waived when they were disclosed to GIP-Cayman’s entire Board, including the
 18   Bronzelink Board members, without any limitation being placed on their ability to
 19   disclose the Memos or use them on behalf of Bronzelink. 4
 20                     4.    The Disclosures to Bronzelink Employees Waived the Privilege.
 21               In their moving papers, Plaintiffs presented evidence that Calvin Tang
 22   (“Tang”), a Bronzelink employee, admitted to Mr. Youssefzadeh and Mr. Javed that
 23
                  4
 24            In addition, the disclosures to Bronzelink were not confidential. GIP has
 25   submitted declarations stating that GIP took steps to maintain the confidentiality of
      certain information, but it has not submitted any evidence that Bronzelink entered into
 26   nondisclosure or confidentiality agreements. Moreover, the Amore Facility
 27   Agreement expressly provides that Amore has access to the GIP documents received
      by Bronzelink, necessarily including the Milbank Memo and the Chen Memo.
 28   (Compendium, Exh. 43, p. 445.)
                                          - 17 -
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  1   he had read the Milbank Memo and that Wenjie Li (“Li”), a Bronzelink consultant,
  2   confirmed to Mr. Javed that she had read both the Milbank and Chen Memos.
  3   (Motion, p. 16-18; U.J. Decl., ¶¶ 90, 139, E.Y. Decl. ¶ 70.)
  4               Even if GIP were permitted to disclose privileged information to Bronzelink
  5   and its consultants, these disclosures would waive the privilege because GIP has not
  6   shown that the disclosures were made “for the purpose of securing legal
  7   advice; . . . the subject matter of the communication is within the scope of the
  8   employee’s corporate duties; and . . . the communication is not disseminated beyond
  9   those persons who, because of the corporate structure, need to know its contents.”
 10   See Cohen v. Trump, 2015 WL 3617124, at *14 (S.D. Cal. 2015), citing Diversified
 11   Indus., Inc. v. Meredith, 572 F.2d 596, 609 (8th Cir.1977); see also United States v.
 12   Davita, Inc., 301 F.R.D. 676, 682 (N.D. Ga. 2014) (“a communication loses its
 13   protection if . . . disseminated beyond the group of corporate employees who have a
 14   need to know in the scope of their corporate responsibilities.”) (internal quotation
 15   marks omitted); In re Vioxx Prod. Liab. Litig., 501 F. Supp. 2d 789, 796 (E.D. La.
 16   2007) (same).
 17               Tang and Li are barely mentioned in the Opposition. GIP does not dispute that
 18   Tang read the Milbank Memo or that Li read both the Milbank and Chen Memos.
 19   GIP does not attempt to justify these disclosures as necessary for Bronzelink to obtain
 20   or evaluate legal advice. And GIP does not present a declaration from either of them.
 21   Accordingly, GIP has not met its burden of demonstrating that those disclosures did
 22   not waive privilege.
 23                     5.    The Disclosures to Sidley Austin and Sheppard Mullin Waived
 24                           the Privilege.
 25               In its Opposition, GIP fails to address the disclosure of the Milbank Memo and
 26   other attorney-client communications to Bronzelink’s transactional counsel, Sidley.
 27   (U.J. Decl., ¶ 134, Compendium, Exh. 59.) Panahy, who sent the Milbank Memo to
 28   Sidley on July 10, 2017, does not discuss or attempt to justify this disclosure in his
                                          - 18 -
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  1   declaration, and GIP has not provided a declaration from any of the Sidley attorneys.
  2               Furthermore, GIP cannot invoke the common interest or joint defense doctrine
  3   to justify the disclosures to Sidley. Panahy’s July 10, 2017 email was sent, not only to
  4   Sidley, but also to Mr. Youssefzadeh, Mr. Javed, and the Bronzelink-appointed
  5   directors. At that time, Mr. Youssefzadeh and Mr. Javed were clearly adverse to the
  6   Bronzelink-appointed directors, and had even threatened to sue Bronzelink. By no
  7   stretch of the imagination can this be considered a communication in furtherance of
  8   the common interests of the recipients. Nor is there any evidence of an agreement
  9   between Milbank and Sidley to exchange privileged information, and as stated above,
 10   the joint defense privilege only applies when the disclosure is made pursuant to an
 11   agreement.
 12               GIP’s Opposition also fails to address the disclosure of GIP’s privileged
 13   communications to SMRH at a time when SMRH was acting solely as Bronzelink’s
 14   counsel. GIP has not provided a declaration from SMRH discussing the disclosures,
 15   and has not set forth any evidence of a joint defense agreement, or even contended
 16   that one existed at that time. For all of these reasons, GIP’s disclosure to Sidley and
 17   SMRH waives the privilege.
 18               C.    The Disclosures to Boeing and SpaceX Waived the Privilege.
 19               In their moving papers, Plaintiffs contend that GIP waived its attorney-client
 20   privilege as a result of disclosing the subject matter of the Milbank and Chen Memos
 21   to Boeing and SpaceX and by failing to take reasonable steps to limit the
 22   consequences of those disclosures. (Motion, pp. 28-29.)
 23               In its Opposition, GIP does not dispute those disclosures. Indeed, GIP
 24   submitted discovery responses by Chris Chen stating that GIP disclosed privileged
 25   information to third parties. Opp. Compendium, Exh. L, pp. 4, 8. Chen’s further
 26   discovery responses establish that GIP disclosed privileged information to numerous
 27   employees of Boeing and SpaceX. (Supp. J.F. Decl., ¶ 6; Supp. Compendium,
 28   Exh. 99, pp. 3-5.)
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  1                     1.    Mr. Youssefzadeh Was Authorized to Waive the Privilege on
  2                           Behalf of GIP-Cayman.
  3               GIP argues that the disclosures to Boeing and SpaceX by Mr. Youssefzadeh
  4   were unauthorized and a breach of Mr. Youssefzadeh’s fiduciary duties. (Opp.,
  5   pp. 21-22.) Neither argument has any merit.
  6               The case law cited above demonstrates that corporate executives have broad
  7   authority to act on behalf of their corporations. The case-law further establishes that
  8   corporate executives can waive a privilege held by the corporation. Commodity
  9   Futures Trading Com’n v. Weintraub (“Weintraub”), 471 U.S. 343, 348-49 (1985) (In
 10   the corporate context, “the power to waive the corporate attorney-client privilege rests
 11   with the corporation’s management and is normally exercised by its officers and
 12   directors.”); see also Reinsdorf v. Skechers USA Inc., 2013 WL 12116415 at *4 (C.D.
 13   Cal. May 31, 2013) (The power to waive the privilege “rests with the corporation’s
 14   management and is normally exercised by its officers and directors.”); Ironwood
 15   Country Club v. Liberty Insurance Underwriters, Inc., 2014 WL 12558790, at *9
 16   (C.D. Cal. 2014) (COO/General Manager authorized to waive privilege on behalf of
 17   corporation); Pensacola Firefighters’ Relief Pension Fund Board of Trustees v.
 18   Merrill Lynch Pierce Fenner & Smith Inc., 2010 WL 11520021 at *4 (N.D. Fla. 2010)
 19   (senior vice-president with “some managerial or supervisory duties” also authorized).
 20   (See also Motion, pp. 21-22.) GIP does not even attempt to distinguish these
 21   authorities, which are discussed in Plaintiff’s Moving Papers.
 22               Instead, GIP cites cases holding that a former employee may not invoke or
 23   waive an organization’s privilege – a rule that is neither disputed nor relevant, as
 24   Plaintiffs were executives at the time of the disclosures.5
 25
 26               5
              Criswell v. City of O’Fallon, 2008 WL 250199 (E.D. Mo. 2008) held that a
 27   former city employee may not waive the city’s privilege rights. In U.S. v. Head, 2013
      WL 5739095 (E.D. Cal. 2013) the court held that a former officer has no right to
 28
      assert corporation’s privilege. Likewise, Fitzpatrick v. American Intern. Group, Inc.,
                                               - 20 -              Continued on next page...
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  1               The other authorities cited by GIP are similarly inapposite. In In re Grand Jury
  2   Proceedings, 219 F.3d 175 (2d Cir. 2000), the court held merely that a CEO’s
  3   compelled testimony, offered in his individual capacity, does not necessarily waive a
  4   corporation’s privilege. Galli v. Pittsburg Unified School Dist., 2010 WL 4315768,
  5   *4 (N.D. Cal. 2010), held that “an individual Board member alone cannot waive the
  6   privilege.” In this case, Mr. Youssefzadeh was not acting in his individual capacity,
  7   and was not merely a director, but rather the acting CEO, Chief Technical Officer and
  8   Chairman of the GIP-Cayman Management Committee. Moreover, Mr. Youssefzadeh
  9   acted with the approval of Mr. Javed, the President and Chief Operating Officer of
 10   GIP-Cayman and GIP-USA. (E.Y. Decl., ¶¶ 41, 44; U.J. Decl., ¶¶ 51, 107.)
 11                     2.    Mr. Youssefzadeh Did Not Breach His Fiduciary Duties by
 12                           Making the Disclosures to Boeing and SpaceX.
 13               GIP next argues, without any citation to authority, that Mr. Youssefzadeh’s
 14   disclosures to Boeing and SpaceX did not waive the privilege because
 15   Mr. Youssefzadeh did not obtain approval from the GIP Board and therefore was in
 16   breach of his fiduciary duties to GIP. GIP’s unsupported argument is unavailing. As
 17   set forth above, Mr. Youssefzadeh had express authority to exercise his sole and
 18   absolute discretion in determining what disclosures to make to SpaceX. Moreover,
 19   the case law cited above establishes that, as a corporate executive, Mr. Youssefzadeh
 20   had broad authority to act on behalf of GIP, including the authority to waive the
 21   privilege.6
 22               Furthermore, Mr. Youssefzadeh did not breach his fiduciary duty to GIP-
 23   Cayman. Rather, he made the disclosures to Boeing and SpaceX because he and
 24
      272 F.R.D. 100 (S.D.N.Y. 2010) denied a former director’s demand for privileged
 25   communications to assist in his suit against the corporation.
 26           In Gregory v. Correction Connection, Inc., 1990 WL 182130, at *3 (E.D. Pa.
                  6



 27   1990), the court held that a director and CEO may waive a corporation’s attorney-
      client privilege, but risks action for breach of fiduciary duty “if such disclosure is not
 28   in the best interest of [company].”
                                          - 21 -
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  1   Mr. Javed had made representations about compliance to Boeing and SpaceX which
  2   had to be corrected, he believed it was in GIP-Cayman’s best interest to keep the
  3   company’s two key suppliers fully informed so that they could ensure that data and
  4   technology subject to the export control laws was not compromised in the course of
  5   performing their contracts, and he needed to inform Boeing and SpaceX of his and
  6   Mr. Javed’s resignations, and the reasons why they resigned. (Supp. E.Y. Decl.,
  7   ¶ 22.) Moreover, Mr. Youssefzadeh’s emails to Boeing and SpaceX made a point of
  8   assuring those companies that their data has not been compromised. (Supp. E.Y.
  9   Decl., ¶ 18, Compendium, Exh. 45.)7 Accordingly, when he made the disclosures to
 10   Boeing and SpaceX, Mr. Youssefzadeh was carrying out, rather than breaching, his
 11   fiduciary duties.
 12                     3.     GIP Ratified the Disclosures to Boeing and SpaceX.
 13               GIP never attempted to claw back the disclosures to Boeing and SpaceX that it
 14   now claims were improper. Plaintiff’s Moving Papers argue, with citation to
 15   appropriate authorities, that GIP ratified the disclosures by failing to take any action in
 16   response to them. (Motion, p. 29.) GIP has not even attempted to address this
 17   argument, thereby effectively conceding that this argument is meritorious.8
 18   VII. GIP HAS WAIVED PRIVILEGE ON THE SUBJECT MATTER OF THE
 19               MILBANK AND CHEN MEMOS.
 20               GIP argues that even if the Court finds that the privilege has been waived as to
 21   the Milbank and Chen Memos, it should not find a subject matter waiver. However,
 22
             Remarkably, this language was deleted from the emails that GIP submitted to
                  7

 23   the court. (Opposition Compendium, Exhs. I, J)
                  8
 24              GIP has not even close to meeting its burden under the work product doctrine
 25   of showing that the Memos were prepared “because of” anticipated litigation and
      “would not have been created in substantially similar form but for the prospect
 26   of . . . litigation.” In re Grand Jury Subpoena (Mark Tort/Tort Environmental
 27   Management), 357 F.3d 900, 907 (9th Cir. 2004). Instead, GIP relegates this argument
      to a single footnote which fails to identify any anticipated litigation whatsoever
 28   involving GIP or any threats of litigation which predate the Milbank Memo.
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  1   GIP admits that it freely shared privileged information with Bronzelink’s directors,
  2   employees and consultants, and these disclosures were not limited to the Milbank
  3   Memo and the Chen Memo. Instead, all disclosures of privileged information to the
  4   GIP-Cayman Board were as a matter of course provided to Bronzelink, given the dual
  5   roles of several directors and the lack of safeguards preventing such disclosures;
  6   moreover all such information was available to Amore under the Facility Agreement.
  7   Accordingly, GIP has generally waived the privilege. See O’Leary v. Purcell Co., 108
  8   F.R.D. 641, 645–46 (M.D.N.C. 1985) (concluding that defendants “treated the
  9   documents here in issue so loosely that they should not be considered confidential for
 10   purposes of the attorney-client privilege. The attorney-client privilege may be lost
 11   when parties fail to take reasonable precautions to insure and maintain the
 12   confidentiality of attorney-client documents.”).
 13               GIP also admits that, under the “fairness doctrine” courts have rejected
 14   “attempts to use the privilege as both a sword and a shield, and have held that a
 15   subject matter waiver applies in that context.” (Opp., p. 23.)
 16               In this case, GIP is attempting to use the privilege as both a sword and a shield,
 17   and considerations of fairness militate in favor of finding a subject matter waiver.
 18   GIP contends that it shared a unity of interests with Bronzelink on the compliance
 19   issue and further contends that Dong Yin merely acted as a lender, but it has refused
 20   to reveal counsel’s legal analysis of the conduct of Bronzelink and Dong Yin, and
 21   whether counsel was recommending changes to limit their authority. GIP also argues
 22   that Mr. Youssefzadeh and Mr. Javed breached their fiduciary duties by making
 23   disclosures to Boeing and SpaceX, while at the same time refusing to reveal the
 24   contents of the disclosures, or of the legal analyses which led them to conclude that
 25   such disclosures were necessary. In addition, GIP argues that it shared privileged
 26   information with Boeing to further a common interest in compliance, while at the
 27   same time prohibiting an inquiry into its disclosures to, and communications with,
 28   Boeing. GIP has also hidden behind the privilege to minimize Panahy’s role as an
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  1   honest broker between GIP and Dong Yin, and misstate Chen’s role in those
  2   communications.
  3               More fundamentally, GIP is hiding behind the attorney-client privilege to
  4   portray the false picture that it no longer has ongoing compliance issues. William
  5   Wade asserts in his declaration that the Bronzelink-appointed Board Members are
  6   “committed . . . to ensuring that [GIP] fully complies with ITAR and EAR.”9
  7   (Declaration of William Wade, ¶ 3.) However, GIP has refused to disclose what
  8   compliance issues their outside and in-house counsel identified, and whether those
  9   issues have been addressed, as Mr. Wade states. This is a classic example of using the
 10   privilege as both a sword and a shield.
 11               Because GIP has waived the privilege in its entirety in its dealings with
 12   Bronzelink and Amore, and because it would be fundamentally unfair to allow GIP to
 13   use the privilege as both a sword and a shield, the Court should find that GIP has
 14   waived the privilege as to all communications related to the compliance and/or lack of
 15   compliance by GIP-Cayman and GIP-USA with U.S. export control laws relating to
 16   satellite and launch technology and data.
 17               The two cases cited by GIP do not compel a different result. In In re von
 18   Bulow, 828 F.2d 94, 102 (2d Cir. 1987), the court found that an attorney’s publication
 19   of a book about his client’s criminal trial, which included privileged communications,
 20   did not result in waiver of privilege as to any undisclosed portions of such
 21   communications. The facts of von Bulow are not remotely similar to this case.
 22               GIP also relies on Bittaker v. Woodford, 331 F.3d 715 (9th Cir. 2003), which
 23   did not even involve a waiver of the attorney-client privilege. Rather, in Bittaker, the
 24   court held that the scope of a habeas petitioner’s waiver arising from a claim of
 25
 26           Notably, Mr. Wade was not appointed to the GIP-Cayman Board of Directors
                  9



 27   until August 15, 2017, and was not involved with the governance, management or
      operations of GIP-Cayman prior to his appointment. (Supp. U.J. Decl., ¶ 18; Supp.
 28   Compendium, Exh. 88.)
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  1   ineffective assistance of counsel in a habeas petition could extend only to litigation of
  2   the federal habeas petition. Bittaker, 331 F.3d at 721-26. Bittaker is not remotely
  3   relevant to this dispute.
  4   VIII. CONCLUSION.
  5               For the reasons presented, the Court should find and order that the Milbank
  6   Memo, the Chen Memo and related communications are not subject to the attorney-
  7   client privilege or the work product doctrine. Furthermore, because the Memos and
  8   related communications are not privileged, the Court should also order that the
  9   Complaint, the FAC, and all of the Motion, Opposition and Reply papers filed in this
 10   action be unsealed.
 11   DATED: April 27, 2018                    ISAACS | FRIEDBERG LLP
 12
 13                                            /s/ Jerome H. Friedberg
                                                  Jerome H. Friedberg, Esq.
 14
 15                                            Attorneys for Plaintiffs STM Atlantic N.V., STM
                                               Group, Inc., Emil Youssefzadeh and
 16                                            Umar Javed
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